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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    BRIAN RICHARDSON, et al., individually
    and on behalf of all others similarly situated,          No.: 5:15-cv-06325-WB

                 Plaintiffs,

                v.

    VERDE ENERGY USA, INC.,

                 Defendant.



                    PLAINTIFFS’ UNOPPOSED MOTION FOR
         PRELIMINARY APPROVAL OF AMENDED SETTLEMENT AGREEMENT

          Plaintiffs Brian Richardson, Michelle Hunt, Jacqueline Bowser, Kris Villager, and Donna

Schley (“Plaintiffs”) respectfully move this Court pursuant to FED. R. CIV. P. 23 for entry of an

Order:

          (1)     preliminarily approving the Parties’ proposed Amended Stipulation and Agreement

of Settlement (“Amended Settlement Agreement”) 1 as set forth in the Parties’ proposed

Preliminary Approval Order, attached as Exhibit A to the Amended Settlement Agreement;

          (2)     preliminarily certifying, only for purposes of the proposed Settlement, the

Settlement Class defined in the Amended Settlement Agreement;

          (3)     approving as to form and content the Notice of Class Action Settlement (the

“Notice”) and the Claim Form, attached, respectively, as Exhibits B and C to the Settlement

Agreement;



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   Unless otherwise stated, all capitalized terms used in this Motion are as defined in the Amended
Settlement Agreement dated December 19, 2019. A copy of the Amended Settlement Agreement
is attached to this Motion as Exhibit 1.
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       (4)     approving the proposed procedures for dissemination of the Notice in the manner

set forth in the proposed Preliminary Approval Order, as being the best notice practicable under

the circumstances and in accord with the requirements of due process and FED. R. CIV. P. 23;

       (5)     appointing Angeion Group, LLC to serve as the Settlement Administrator;

       (6)     preliminarily appointing, for settlement purposes only, Shanon J. Carson and Lane

L. Vines of Berger Montague PC, W. Craft Hughes and Jarrett L. Ellzey of Hughes Ellzey, LLP,

Joshua Arisohn of Bursor & Fisher, P.A., and Ari H. Marcus of Marcus & Zelman, LLC to serve

as class counsel;

       (7)     setting the date of the Final Approval Hearing; and

       (8)     establishing deadlines for filing the Motion for Attorneys’ Fees, Costs and Service

Awards, the Motion for Final Approval of the Settlement, and for Settlement Class Members to

request exclusion from or object to the Settlement.

       The grounds on which this Motion is based are set forth in the accompanying Memorandum

of Law. Accordingly, Plaintiffs respectfully request that this unopposed Motion be granted and

that the Court enter the Parties’ proposed Preliminary Approval Order.




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Dated: December 19, 2019                   Respectfully submitted,

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                                           Attorneys for Plaintiffs and the Proposed
                                           Settlement Class




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 19, 2019, I caused the foregoing to be electronically filed

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing to

all counsel of record.



                                              /s/ Shanon J. Carson
                                             Shanon J. Carson




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